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    The Trump administration deported hundreds of Venezuelans accused of ties to the Tren
    de Aragua gang, sending them to El Salvador's notorious mega-prison, Cecot. The prison
    is notorious for the ruthless way it treats prisoners, which human rights organizations say
    is inhumane and violates human rights. CNN's David Culver reports on the conditions
    inside this high-security facility housing the alleged criminals.

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